                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT GREENEVILLE


 UNITED STATES OF AMERICA                                  )
                                                           )
 v.                                                        )       No. 2:19-CR-095
                                                           )
 COURTNEY JEAN SNEED                                       )


                                   MEMORANDUM AND ORDER

           The defendant has pled guilty to knowingly and intentionally harboring a fugitive,

 in violation of 18 U.S.C. § 1071. At this time, sentencing is scheduled for September 8,

 2020.

           The United States Probation Office has prepared and disclosed its Presentence

 Investigation Report (“PSR”). [Doc. 38]. 1 The defendant objects to the PSR’s calculation

 of her base offense level. [Doc. 41]. The United States has filed a notice of no objections,

 and the probation office has issued its PSR Addendum. [Docs. 40, 42].

           The Court finds that no evidentiary hearing is needed to resolve the defendant’s

 objection. For the reasons that follow, that objection will be overruled.

                                              I. Background

           In her plea agreement, the defendant acknowledges that she and codefendant Willie

 Tilson harbored Ray English, for whom there was an active federal arrest warrant. [Doc.

 28]. The PSR in this case assigns a base offense level of 17 for that crime, pursuant to



 1
     All docket references are to Case No. 2:19-CR-095 unless otherwise noted.



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 United States Sentencing Commission Guidelines Manual (“U.S.S.G.”) § 2X3.1. [Doc.

 38].

        In 2013, the undersigned sentenced English to a 60-month term of imprisonment, to

 be followed by four years of supervised release, for conspiring to manufacture

 methamphetamine. [Case No. 2:12-CR-093, doc. 479]. In 2017, English violated his

 conditions of supervision. His supervised release was revoked and the Court imposed an

 additional term of 14 months’ imprisonment, to be followed by two years of supervision.

 [Id., doc. 680].

        In 2019, the probation office again petitioned the Court to revoke English’s

 supervised release, and an arrest warrant was issued. [Id., doc. 727]. English was arrested

 and subsequently released on bond. [Id., doc. 748]. He then violated his bond conditions,

 and another arrest warrant was issued. [Id., doc. 754]. English was arrested on May 8,

 2019. [Id., 758]. His supervised release was again revoked, and he was sentenced to 22

 months’ imprisonment with no further supervision to follow. [Id., doc. 759]. In sum,

 English has been sentenced by this Court to a total of 96 months’ imprisonment for his

 offense of conviction in Case No. 2:12-CR-093.

        English’s May 8 arrest occurred at Tilson’s and the defendant’s residence. [Doc.

 28]. When found hiding in the basement, English advised officers that “he had been at the

 residence for several days and that he asked Tilson and Sneed not to tell law enforcement

 that he was inside.” [Id.]. The defendant “admits [that] she harbored/concealed English

 so as to prevent his discovery and arrest, after being advised of the arrest warrant and the

 consequences for lying.” [Id.].

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                                         II. Analysis

        As noted, the PSR in this case assigns a base offense level of 17, applying the cross-

 reference provisions of U.S.S.G. § 2X3.1. That guideline covers accessory after the fact

 offenses, including harboring of a fugitive. U.S.S.G. § 2X3.1(a)(3)(B). The base offense

 level under § 2X3.1 is generally “6 levels lower than the offense level for the underlying

 offense[.]” Id. § 2X3.1(a)(1). “‘[U]nderlying offense’ means the offense as to which the

 defendant is convicted of being an accessory[.]” Id. cmt. n.1.

        The base offense level in this case was calculated by the probation office using

 English’s original total offense level of 23 and then subtracting six levels pursuant to §

 2X3.1(a)(1). The defendant objects that the probation office’s method is incorrect. She

 argues that her base offense level should instead be derived from the offense level

 corresponding to English’s 2019 probation violation rather than from English’s original

 methamphetamine conviction. In the alternative, the defendant argues that English’s

 original offense level (as now applied in part to her) should be reduced by two pursuant to

 guideline amendments 782 and 788. The defendant also suggests that her sentence will be

 overly harsh compared to that received by English.

        In setting the instant defendant’s offense level, the probation office correctly looked

 to English’s original methamphetamine conviction rather than to his later conduct (the

 supervised release violations). See generally, e.g., United States v. McFall, No. 3:12-CR-

 124-2, 2013 WL 4500440, at *2 (E.D. Tenn. Aug. 21, 2013); see also United States v.

 Jimenez, 282 F.3d 597, 601 (8th Cir 2002) (Guideline 2X3.1 “contemplate[s] that the

 defendant is to be sentenced based on the gravity of the underlying crime[.]”). To do

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 otherwise makes no sense. The defense offers no method by which her offense level would

 be calculated based solely on English’s supervised release violation conduct, and rightly

 so. Guideline 2X3.1 sets “base offense levels.” Conversely, supervised release violations

 do not have “base offense levels”—they have “grades of violation.” U.S.S.G. § 7B1.4(a).

 It would be impossible for the Court to look to the “offense level” for English’s supervised

 release misconduct because there is not one.

        The merits of the defendant’s alternative argument—that English’s original offense

 level should be reduced by two as applied to her— under guideline amendments 782 and

 788 need not be addressed. In the PSR Addendum, the probation office acknowledges that

 the defendant has benefitted from a favorable miscalculation of her offense level in this

 case. The instant PSR sets a base offense level of 17 which is based on English’s total

 offense level of 23. However, the instant defendant’s base offense level should in fact be

 20, which is six levels lower than English’s base offense level of 26. See U.S.S.G. § 2X3.1

 cmt. n.1 (“Apply the base offense level [of the person who was aided or harbored] . . . .”)

 (emphasis added). Therefore, the defendant’s total offense level in this case (with full

 acceptance of responsibility) should be 17 rather than 14.

        The probation office nonetheless recommends that the Court apply the lower (and

 incorrect) total offense level of 14 under the “rule of lenity.” [Doc. 42]. In light of the

 probation office’s position and the absence of objection by the United States, the Court

 presently concurs and at this point intends to apply a total offense level of 14 at sentencing.

        Under the defendant’s proposed alternate approach, her total offense level and

 guideline range would be higher. Again, the defendant’s base offense level should be 20.

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 If her alternate objection theory were correct (an issue upon which this order takes no

 position), the offense level would be reduced by two down to 18. Further subtracting three

 levels for full acceptance of responsibility, her total offense level would be 15 (which is

 higher than the current total offense level of 14). Because the Court presently intends to

 use the lower total offense level, the defendant’s Amendment 782 argument is not one that

 will impact sentencing and is thus moot. See Fed. R. Crim. P. 32(i)(3)(B) (district court

 need not rule on an objection that will not affect sentencing).

        Lastly, to the extent that the defendant suggests she is being punished more harshly

 than the fugitive she harbored, the Court again notes that English has received 96 months’

 imprisonment for his methamphetamine offense.           The instant defendant’s advisory

 guideline range is only 18 to 24 months. She is not being punished more severely than Ray

 English.

                                       III. Conclusion

        For the reasons provided herein, the defendant’s PSR objection [doc. 41] is

 OVERRULED. For now, sentencing remains set for Tuesday, September 8, 2020, at

 10:00 a.m. in Greeneville.

        IT IS SO ORDERED.

                                                          ENTER:



                                                                 s/ Leon Jordan
                                                           United States District Judge




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